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                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 HUMAN RIGHTS DEFENSE CENTER,                             Case No.

                            Plaintiff,                   COMPLAINT AND DEMAND FOR
                                                         JURY TRIAL
          v.

 CANYON COUNTY, IDAHO; KIERAN
 DONAHUE, Sheriff, individually and in his
 official capacity; and JOHN AND JANE
 DOES 1-10, Staff, individually and in their
 official capacities,

                            Defendants.




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                                       I.      INTRODUCTION

         1.        For decades, the United States Supreme Court has recognized that the freedom to

read and correspond with the outside world while incarcerated carries important benefits to both

prisoners and society as a whole. To this end, Plaintiff Human Rights Defense Center (“HRDC”

or “Plaintiff”) provides incarcerated persons across the United States with publications regarding

their legal and civil rights, as well as options for accessing education while incarcerated.

         2.        Defendants’ mail policies and practices unconstitutionally prohibit delivery of

Plaintiff’s books, magazines, and mail to prisoners housed in the Canyon County Jail (the “Jail”),

in violation of the First Amendment to the United States Constitution. Defendants’ policies and

practices also deny due process of law to senders whose mail is censored, such as Plaintiff’s mail,

by failing to provide notice of and an opportunity to challenge each instance of censorship as

required by the Fourteenth Amendment to the United States Constitution. HRDC brings this action

to enjoin Defendants’ censorship of its publications and mail sent to prisoners held in the Jail, and

to require Defendants to provide due process when they reject items sent to prisoners at that

facility. It also seeks damages.

                                II.     JURISDICTION AND VENUE

         3.        This action is brought pursuant to 28 U.S.C. § 1331 (federal question), as this action

arises under the Constitution and laws of the United States, and pursuant to 28 U.S.C. § 1343 (civil

rights), as this action seeks redress for civil rights violations under 42 U.S.C. § 1983.

         4.        Venue is proper under 28 U.S.C. § 1391(b). At least one Defendant resides within

this judicial district and the events giving rise to the claims asserted herein all occurred within this

judicial district.




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         5.        HRDC’s claims for relief are brought pursuant to 42 U.S.C. § 1983, which

authorizes actions to redress the deprivation, under color of state law, of rights, privileges and

immunities secured by the First and Fourteenth Amendments to the U.S. Constitution and laws of

the United States.

         6.        This Court has jurisdiction over claims seeking declaratory and injunctive relief

pursuant to 28 U.S.C. §§ 2201 and 2202, and the Court also has jurisdiction to award damages

against all Defendants.

         7.        HRDC’s claim for attorneys’ fees and costs for its federal claims is predicated upon

42 U.S.C. § 1988, which authorizes the award of attorneys’ fees and costs to prevailing plaintiffs

in actions brought pursuant to 42 U.S.C. § 1983.

                                            III.   PARTIES

         8.        HRDC is a not-for-profit charitable organization recognized under § 501(c)(3) of

the Internal Revenue Code, incorporated in the state of Washington and with principal offices in

Lake Worth, Florida. The purpose of HRDC is to educate prisoners and the public about the

destructive nature of racism, sexism, and the economic and social costs of prisons to society.

HRDC accomplishes its mission through advocacy, litigation, and the publication and/or

distribution of books, magazines, and other information concerning prisons and prisoner rights.

         9.        Defendant Canyon County, Idaho (the “County”) is a political subdivision of the

State of Idaho organized and existing under the laws of Idaho. The County is, and at all relevant

times was, responsible for the actions and/or inactions and the policies, procedures, customs, and

practices of the Canyon County Sheriff’s Department and its employees and agents.

         10.       Defendant Kieran Donahue is the Sheriff of Canyon County, and has held that

position since he was first elected in 2012. Defendant Donahue is employed by and is an agent of




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the County. He is responsible for overseeing the management and operations of the Jail, and for

hiring, screening, training, supervision, discipline, counseling, and control of the personnel at the

Jail who interpret and apply the Jail’s inmate mail policy. As Sheriff, Defendant Donahue is a

final policymaker for the County with respect to the operation of the Jail, including for policies

governing incoming mail for inmates. He is sued in his individual and official capacities.

         11.       The true names and identities of Defendants DOES 1 through 10 are presently

unknown to HRDC. Each of Defendants DOES 1 through 10 are or were employed by and are or

were agents of the County and were personally involved in the adoption and/or implementation of

the publications and mail policies at the Jail, including the rejection of mail sent by HRDC to

persons incarcerated at the Jail. HRDC will seek to amend this Complaint after the true names

and identities of Defendants DOES 1 through 10 have been ascertained.

         12.       At all times material to this action, the actions of all Defendants as alleged herein

were taken under the authority and color of state law.

         13.       At all times material to this action, all Defendants were acting within the course

and scope of their employment as agents and/or employees of Defendant County.

                                 IV.     FACTUAL ALLEGATIONS

A.       HRDC’s Mission and Outreach to Detention Facilities

         14.       For more than 30 years, the focus of HRDC’s mission has been public education,

advocacy, and outreach on behalf of, and for the purpose of assisting, prisoners who seek legal

redress for infringements of their constitutionally guaranteed and other basic human rights.

HRDC’s mission, if realized, has a salutary effect on public safety.

         15.       To accomplish its mission, HRDC publishes and distributes books, magazines, and

other materials containing news and analysis about prisons, jails and other detention facilities,




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prisoners’ rights, court rulings, management of prison facilities, prison conditions, and other

matters pertaining to the rights and/or interests of incarcerated individuals.

         16.       HRDC engages in core protected speech and expressive conduct on matters of

public concern, such as the operation of prison facilities, prison conditions, prisoner health and

safety, and prisoners’ rights.       HRDC’s publications contain political speech and social

commentary, which are core First Amendment rights and are entitled to the highest protection

afforded by the United States Constitution.

         17.       HRDC has thousands of customers in the United States and abroad, including

prisoners, attorneys, journalists, public libraries, judges, and members of the general public. Since

its creation in 1990, HRDC has sent its publications to prisoners and law librarians in more than

3,000 correctional facilities located across all 50 states, including the Federal Bureau of Prisons

and various facilities within the State of Idaho.

         18.       HRDC publishes and distributes a 72-page monthly magazine titled Prison Legal

News: Dedicated to Protecting Human Rights, which contains news and analysis about prisons,

jails, and other detention facilities, prisoners’ rights, court opinions, management of prison

facilities, prison conditions, and other matters pertaining to the rights and/or interests of

incarcerated individuals. In 2013, Prison Legal News received the First Amendment Award from

the Society of Professional Journalists.

         19.       More recently, HRDC also began publishing a second monthly magazine, Criminal

Legal News. This magazine focuses on review and analysis of individual rights, court rulings, and

news concerning criminal justice-related issues.

         20.       Additionally, HRDC publishes and/or distributes dozens of different softcover

books about the criminal justice system, legal reference books, and self-help books of interest to




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prisoners. These books are designed to foster a better understanding of criminal justice policies

and to allow prisoners to educate themselves about related issues, such as legal research, how to

write a business letter, health care issues, and similar topics.

         21.       In addition to monthly magazines and books, HRDC also sends informational

brochure packets to prisoners. The packets contain a brochure and subscription order form, a book

list, and a published books brochure (each of which is a single page).

B.       Defendants’ Unconstitutional Publications and Mail Policies and Practices

         22.       Defendants’ online policy pertinent to the matter purports to allow prisoners to

receive magazines.          This policy is posted on the Canyon County, Idaho website at

https://www.canyonco.org/elected-officials/sheriff/detention-center/ (last accessed Dec. 15,

2021).

         23.       Despite their mail policy, Defendants have a custom and practice of rejecting

magazines and informational brochures sent by HRDC to prisoners at the Jail. Accordingly,

Defendants’ publications and mail policies and practices violate HRDC’s rights under the Free

Speech Clause of the First Amendment.

         24.       Furthermore, Defendants engage in a policy or practice that fails to provide senders

of censored mail notice and an opportunity to appeal the censorship of the mail to the intended

prisoner. Accordingly, such policy violates HRDC’s Fourteenth Amendment rights to due process.

         25.       Since November 2020 HRDC has sent letters, books, and magazines to prisoners

held at the Jail. Each of these items was individually addressed and separately mailed.

         26.       Defendants have censored the following materials sent by Plaintiff to prisoners held

in the Jail: (1) issues of Prison Legal News; (2) issues of Criminal Legal News; and




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(3) informational brochure packets. Defendants refused to deliver said items to the intended

prisoner-recipients. Defendants continue to censor many of the items listed above.

         27.       Altogether, since November 2020, Plaintiff can identify at least 21 items of mail

sent by HRDC to prisoners held in the Jail, which Defendants censored. This includes nine issues

of Prison Legal News, nine issues of Criminal Legal News, and three informational packets. These

items were returned to HRDC, many with notations on the envelope such as “Refused,” “Staples

Not Allowed,” “Staples + Advertisements Not Allowed,” and “Soliciting Not Allowed.”

         28.       For every item listed in paragraph 27 HRDC staff confirmed, following return of

the mailed items, that the intended prisoner-recipient was still in custody at the Jail at the time

HRDC received the returned item.

         29.       On information and belief, other publications mailed by HRDC to persons

incarcerated at the Jail were also censored by Defendants, although not returned to HRDC.

         30.       Further, other than the notations appearing on the envelopes of mailed items that

were returned to HRDC, Defendants failed to provide HRDC any explanation of the reason for

censoring the mail sent to inmates and failed to provide HRDC notice or opportunity to appeal

these censorship decisions.

         31.       Due to Defendants’ actions as described above, HRDC has suffered damages, and

will continue to suffer damages, including, but not limited to: the suppression of HRDC’s speech;

the impediment of HRDC’s ability to disseminate its political message; frustration of HRDC’s

non-profit organizational mission; the loss of potential subscribers and customers; and the inability

to recruit new subscribers and supporters.

         32.       Defendants are responsible for and/or personally participated in creating, adopting,

implementing, and ratifying these unconstitutional policies, practices, and customs. Further,




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Defendants are responsible for training and supervising the staff persons whose rejection of mail

sent by HRDC pursuant to the Jail’s unconstitutional policies, practices, and customs has injured

and continues to injure HRDC.

         33.       Defendants’ actions and inactions were and are motivated by ill motive and intent,

and were and are all committed under color of law with deliberate indifference to HRDC’s rights.

         34.       Plaintiff will continue to mail copies of its magazines and informational brochures

to subscribers, customers, and other individuals imprisoned at the Jail.

         35.       Defendants’ unconstitutional policy, practices, and customs are ongoing, continue

to violate HRDC’s rights, and were and are the moving force behind the injuries HRDC suffered

as a direct result of the constitutional violations. As such, HRDC has no adequate remedy at law.

         36.       Without relief from this Court HRDC will suffer irreparable injury, since its

fundamental free speech and due process rights are being denied. The balance of hardships favors

Plaintiff, and the public interest will be served by granting injunctive and declaratory relief.

         37.       The accommodation of the free speech and due process rights of HRDC with

respect to written speech protected by the U.S. Constitution will not have any significant impact

on the Jail, its staff or prisoners.

         38.       HRDC is entitled to declaratory relief as well as injunctive relief prohibiting

Defendants from refusing to deliver publications and correspondence from HRDC and other

senders without any legal justification, and prohibiting Defendants from censoring mail without

due process of law.




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                                             V.     CLAIMS

                                       FIRST CLAIM FOR RELIEF
                                               42 U.S.C. § 1983
                               Violation of the First Amendment (Free Speech)

          39.      HRDC re-alleges and incorporates the allegations of paragraphs 1 through 38 of the

Complaint as if fully set forth herein.

          40.      The acts described above constitute violations of HRDC’s right to communicate

with incarcerated individuals under the Free Speech Clause of the First Amendment.

          41.      The conduct of Defendants was objectively unreasonable and was undertaken

recklessly, intentionally, willfully, with malice, and with deliberate indifference to the rights of

others.

          42.      HRDC’s injuries and the violations of its constitutional rights were directly and

proximately caused by the policies and practices of Defendants, which were and are the moving

force of the violations.

          43.      Defendants’ acts described above have caused damages to HRDC, and if not

enjoined, will continue to cause damage to HRDC.

          44.      HRDC seeks declaratory and injunctive relief, and nominal and compensatory

damages against all Defendants. HRDC seeks punitive damages against the individual Defendants

in their individual capacities.


                                      SECOND CLAIM FOR RELIEF
                                               42 U.S.C. § 1983
                            Violation of the Fourteenth Amendment (Due Process)

          45.      HRDC re-alleges and incorporates the allegations of paragraphs 1 through 44 of the

Complaint as if fully set forth herein.




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          46.      Because HRDC has a liberty interest in communicating with prisoners, HRDC has

a right under the Due Process Clause of the Fourteenth Amendment to receive notice of and an

opportunity to appeal Defendants’ decisions to censor their written speech.

          47.      Defendants’ policy and practice fail to provide HRDC and other senders with

adequate notice and an opportunity to be heard.

          48.      The conduct of Defendants was objectively unreasonable and was undertaken

recklessly, intentionally, willfully, with malice, and with deliberate indifference to the rights of

others.

          49.      HRDC’s injuries and the violations of its constitutional rights were directly and

proximately caused by the policies and practices of Defendants, which are and were the moving

force of the violations.

          50.      Defendants’ acts described above have caused damages to HRDC, and if not

enjoined, will continue to cause damage to HRDC.

          51.      HRDC seeks declaratory and injunctive relief, and nominal and compensatory

damages against all Defendants. HRDC seeks punitive damages against the individual Defendants

in their individual capacities.

                                   VI.     REQUEST FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests relief as follows:

          52.      A declaration that Defendants’ policies and practices violate the Constitution.

          53.      A preliminary and permanent injunction preventing Defendants from continuing to

violate the Constitution, and providing other equitable relief.

          54.      Nominal damages for each violation of HRDC’s rights by Defendants.

          55.      Compensatory damages in an amount to be proved at trial.




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         56.       Punitive damages against the individual Defendants in an amount to be proved at

trial.

         57.       Costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988, and under

other applicable law.

         58.       Any other such relief that this Court deems just and equitable.

                                        VII.   JURY DEMAND

         Plaintiff, Human Rights Defense Center, by and through its attorneys, hereby demands a

trial by jury pursuant to Federal Rule of Civil Procedure 38(b) on all issues so triable.



          DATED: December 20, 2021.

                                                       STOEL RIVES LLP



                                                        /s/ Elijah M. Watkins
                                                       Elijah M. Watkins
                                                       Jennifer S. Palmer
                                                       J.B. Evans

                                                       And

                                                       HUMAN RIGHTS DEFENSE CENTER

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